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 5   Andy Chan
 6
                                   UNITED STATES DISTRICT COURT
 7
                                  EASTERN DISTRICT OF CALIFORNIA
 8
                                                 FRESNO
 9

10                                                  ) Case No.: 1:11-CR-00113-AWI
     UNITED STATES OF AMERICA,                      )
11                                                  ) STIPULATION AND ORDER TO CONTINUE
                     Plaintiff,                     ) SENTENCING HEARING
12                                                  )
            vs.                                     )
13                                                  )
     ANDY CHAN,                                     )
14                                                  )
                     Defendant.                     )
15

16
     The Court has set Monday, April 10 at 1:30 p.m. as the date for sentencing. The parties request
17
     that the Court move the date to May 8, 2017, at 1:30 p.m. to allow sufficient time for defense to
18
     review and determine if there are any objections to the draft presentence report.
19
     Date: March 13, 2017
20                                                               ___/s/Lisa C. Simons __________
                                                                 Lisa C. Simons
21
                                                                 Attorney for Andy Chan
22
     Date: March 13, 2017                                        ___/s/Laurel J. Montoya_________
23                                                               Laurel J. Montoya
                                                                 Assistant United States Attorney
24

25   IT IS SO ORDERED.
26
     Dated: March 13, 2017
27                                               SENIOR DISTRICT JUDGE

28




                  STIPULATION AND [PROPOSED] ORDER TO CONTINUE SENTENCING HEARING - 1
